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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC,                        Case No. 22-10602 (JKS)

                             Debtor.1

                                                          Objection Deadline: April 10, 2023 at 4:00 p.m. (ET)
                                                                   Hearing Date: Scheduled only if Necessary

          SEVENTH MONTHLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
        FOR THE PERIOD OF FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023



    Name of Applicant:                                  Pachulski Stang Ziehl & Jones LLP
    Authorized to Provide Professional Services
                                                        The Official Committee of Unsecured Creditors
    to:
                                                        July 20, 2022 by Order entered
    Date of Retention:
                                                        September 21, 2022
    Period for which Compensation and
                                                        February 1, 2023 – February 28, 2023
    Reimbursement is Sought:
    Amount of Compensation Sought as Actual,
                                                        $40,028.50
    Reasonable and Necessary:
    Amount of Expense Reimbursement Sought
                                                        $196.80
    as Actual, Reasonable and Necessary:


This is a:            monthly             interim            final application.

                 The total time expended for preparation of this monthly fee application is

approximately 2 hours and the corresponding compensation requested is approximately $2,000.00.




1
  The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.


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                              PRIOR MONTHLY APPLICATIONS FILED

   Date               Period                Requested         Requested           Approved           Approved
  Filed              Covered                  Fees             Expenses              Fees            Expenses
10.07.22       07.20.22 – 08.31.22         $263,934.50        $ 391.68            $263,934.50        $ 391.68
10.28.22       09.01.22 – 09.30.22         $135,367.50        $ 84.20             $135,367.50        $ 84.20
12.09.22       10.01.22 – 10.31.22         $111,238.50        $ 472.50            $111,238.50        $ 472.50
01.19.23       11.01.22 – 11.30.22         $113,515.00        $ 93.32             $113,515.00        $ 93.32
02.06.23       12.01.22 – 12.31.22         $ 78,515.00        $ 96.70             $ 78,515.00        $ 96.70
03.13.23       01.01.23 – 01.31.23         $ 72,681.00        $1,388.40           $ 72,681.00        $1,388.40

                 PACHULSKI STANG ZIEHL & JONES LLP PROFESSIONALS

                                                                       Hourly       Total
  Name of Professional Position of the Applicant, Year                                             Total
                                                                       Billing      Hours
      Individual       of Obtaining License to Practice                                         Compensation
                                                                        Rate        Billed
  Bradford J. Sandler          Partner 1996                           $1,595.00      2.00        $ 3,190.00
  Paul John Labov              Partner, 2002                          $1,295.00     10.50        $13,597.50
  Colin R. Robinson            Counsel 2012                           $1,095.00     15.30        $16,753.50
  Ian Densmore                 Paralegal                               $545.00       5.70        $ 3,106.50
  Patricia J. Jeffries         Paralegal                               $545.00       4.80        $ 2,616.00
  Karen S. Neil                Case Management Assistant               $425.00       1.80        $     765.00

                                  Grand Total:            40,028.50
                                  Total Hours:                40.10
                                  Blended Rate:            $998.22




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                                      COMPENSATION BY CATEGORY


              Project Categories                           Total Hours                     Total Fees
    Bankruptcy Litigation                                      2.90                          $ 3,505.50
    Case Administration                                        9.90                          $ 9,154.50
    Compensation of Professionals                              7.50                          $ 4,897.50
    Compensation of Professionals / Other                      4.50                          $ 4,407.50
    Executory Contracts                                        0.40                          $ 488.00
    Financial Filings                                          0.30                          $ 378.50
    Financing                                                  0.20                          $ 219.00
    General Creditors’ Committee                               1.70                          $ 2,001.50
    Operations                                                 3.10                          $ 3,394.50
    Plan & Disclosure Statement                                9.60                          $11,582.00
    Totals                                                    40.10                         $40,028.50


                                          EXPENSE SUMMARY

                                                            Service Provider2                          Total
           Expense Category
                                                             (if applicable)                          Expenses
    Pacer – Court Research                                                                             $ 44.80
    Postage                                                                                            $ 8.70
    Reproduction Expense                                                                               $ 27.90
    Reproduction / Scan Copy                                                                           $115.40
    Total                                                                                              $196.80




2
  PSZ&J may use one or more service providers. The service providers identified herein below are the primary
service providers for the categories described.


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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                                Chapter 11

    AGWAY FARM & HOME SUPPLY, LLC,                        Case No. 22-10602 (JKS)

                             Debtor.1

                                                          Objection Deadline: April 10, 2023 at 4:00 p.m. (ET)
                                                                   Hearing Date: Scheduled only if Necessary

          SEVENTH MONTHLY APPLICATION FOR COMPENSATION AND
    REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG ZIEHL & JONES LLP,
     AS COUNSEL FOR THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS
        FOR THE PERIOD OF FEBRUARY 1, 2023 THROUGH FEBRUARY 28, 2023

                 Pursuant to sections 330 and 331 of Title 11 of the United States Code (the

“Bankruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the

“Bankruptcy Rules”), and the Court’s Order Establishing Procedures for Interim Compensation

and Reimbursement of Professionals, entered on August 3, 2022 [Docket No. 114] (the

“Administrative Order”), Pachulski Stang Ziehl & Jones LLP (“PSZJ” or the “Firm”), counsel for

the Official Committee of Unsecured Creditors (the “Committee”), hereby submits its Seventh

Monthly Application for Compensation and Reimbursement of Expenses for the Period of

February 1, 2023 through February 28, 2023 (the “Application”).

                 By this Application, PSZJ seeks (i) a monthly interim allowance of compensation

in the amount of $40,028.50 and actual and necessary expenses in the amount of $196.80 for a

total allowance of $40,225.30 and (ii) payment of $32,022.80 (80% of the allowed fees pursuant

to the Administrative Order) and reimbursement of $196.80 (100% of the allowed expenses

pursuant to the Compensation Procedures Order) for a total payment of $32,219.60 for the period


1
  The last four digits of the Debtor’s federal tax identification number are 1247. The Debtor’s address is 6606 W.
Broad Street, Richmond, VA 23230.


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of February 1, 2023 through February 28, 2023 (the “Interim Period”). In support of this

Application, PSZJ respectfully represents as follows:

                                                 Background

                 1.          On July 5, 2022 (the “Petition Date”), the Debtor filed a voluntary petition

for relief under chapter 11 of the Bankruptcy Code. The Debtor is operating its business and

managing its property as a debtor in possession pursuant to sections 1107(a) and 1108 of the

Bankruptcy Code. No request for the appointment of a trustee or examiner has been made in this

chapter 11 case.

                 2.          On July 18, 2022, the Office of the United States Trustee established the

Committee pursuant to section 1102(a)(1) of the Bankruptcy Code, which currently is comprised

of the following seven members: (i) The Scotts Company, LLC; (ii) Animal Health International,

Inc.; (iii) Wildlife Sciences, LLC; (iv) Capital Forrest Products; (v) Gallagher North America, Inc.;

(vi) Hub Group, Inc.; and (vii) American Wood Fibers, Inc.[Docket Nos. 118 and 289].

                 3.          On August 3, 2022, the Court signed the Administrative Order, authorizing

certain professionals (“Professionals”) to submit monthly applications for interim compensation

and reimbursement for expenses, pursuant to the procedures specified therein. The Administrative

Order provides, among other things, that a Professional may submit monthly fee applications. If

no objections are made within ten (10) days after service of the monthly fee application the Debtor

is authorized to pay the Professional eighty percent (80%) of the requested fees and one hundred

percent (100%) of the requested expenses. Beginning with the period September 30, 2022, and at

three-month intervals or such other intervals convenient to the Court, each Professional shall file



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and serve an interim application for allowance of the amounts sought in its monthly fee

applications for that period. All fees and expenses paid are on an interim basis until final allowance

by the Court.

                 4.          The retention of PSZJ, as counsel to the Committee, was approved effective

as of July 20, 2022, by this Court’s Order Authorizing and Approving the Retention of Pachulski

Stang Ziehl & Jones LLP as Counsel to the Official Committee of Unsecured Creditors, Effective

as of July 20, 2022 [Docket No. 205] (the “Retention Order”). The Retention Order authorized

PSZJ to be compensated on an hourly basis and to be reimbursed for actual and necessary out-of-

pocket expenses.

                      PSZJ’S APPLICATION FOR COMPENSATION AND
                           FOR REIMBURSEMENT OF EXPENSES

                                     Compensation Paid and Its Source

                 5.          All services for which PSZ&J requests compensation were performed for

or on behalf of the Committee. PSZ&J has received no payment and no promises for payment

from any source other than the Debtor for services rendered or to be rendered in any capacity

whatsoever in connection with the matters covered by this Application. There is no agreement or

understanding between PSZ&J and any other person other than the partners of PSZ&J for the

sharing of compensation to be received for services rendered in this case. PSZ&J has not received

a retainer in this case.

                                               Fee Statements

                 6.          The fee statement for the Interim Period is attached hereto as Exhibit A.

This statement contains daily time logs describing the time spent by each attorney and


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paraprofessional during the Interim Period. To the best of PSZJ’s knowledge, this Application

complies with sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules and the

Administrative Order. PSZJ’s time reports are initially handwritten or directly entered in the

billing system, by the attorney or paralegal performing the described services. The time reports

are organized on a daily basis. PSZJ is particularly sensitive to issues of “lumping” and, unless

time was spent in one time frame on a variety of different matters for a particular client, separate

time entries are set forth in the time reports. PSZJ’s charges for its professional services are based

upon the time, nature, extent and value of such services and the cost of comparable services other

than in a case under the Bankruptcy Code. To the extent it is feasible, PSZJ professionals attempt

to work during travel.

                                      Actual and Necessary Expenses

                 7.          A summary of the actual and necessary expenses incurred by PSZJ for the

Interim Period is attached hereto as part of Exhibit A. PSZJ customarily charges $0.10 per page

for photocopying expenses related to cases, such as this, arising in Delaware.                PSZJ’s

photocopying machines automatically record the number of copies made when the person that is

doing the copying enters the client’s account number into a device attached to the photocopier.

PSZJ summarizes each client’s photocopying charges on a daily basis.

                 8.          PSZJ charges $0.25 per page for out-going facsimile transmissions. There

is no additional charge for long distance telephone calls on faxes. The charge for outgoing

facsimile transmissions reflects PSZJ’s calculation of the actual costs incurred by PSZJ for the

machines, supplies and extra labor expenses associated with sending telecopies and is reasonable



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in relation to the amount charged by outside vendors who provide similar services. PSZJ does not

charge the Debtor for the receipt of faxes in this case.

                 9.          With respect to providers of on-line legal research services (e.g., LEXIS and

WESTLAW), PSZJ charges the standard usage rates these providers charge for computerized legal

research. PSZJ bills its clients the actual amounts charged by such services, with no premium.

Any volume discount received by PSZJ is passed on to the client.

                 10.         PSZJ believes the foregoing rates are the market rates that the majority of

law firms charge clients for such services. In addition, PSZJ believes that such charges are in

accordance with the American Bar Association’s (“ABA”) guidelines, as set forth in the ABA’s

Statement of Principles, dated January 12, 1995, regarding billing for disbursements and other

charges.

                                       Summary of Services Rendered

                 11.         The names of the timekeepers of PSZJ who have rendered professional

services in this case during the Interim Period are set forth in the attached Exhibit A. PSZJ, by

and through such persons, has prepared and assisted in the preparation of various motions and

orders submitted to the Court for consideration, advised the Debtor on a regular basis with respect

to various matters in connection with the Debtor’s case, and performed all necessary professional

services which are described and narrated in detail below. PSZJ’s efforts have been extensive due

to the size and complexity of the Debtor’s case.




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                                     Summary of Services by Project

                 12.         The services rendered by PSZJ during the Interim Period can be grouped

into the categories set forth below. PSZJ attempted to place the services provided in the category

that best relates to such services. However, because certain services may relate to one or more

categories, services pertaining to one category may in fact be included in another category. These

services performed, by categories, are generally described below, with a more detailed

identification of the actual services provided set forth on the attached Exhibit A. Exhibit A

identifies the attorneys and paraprofessionals who rendered services relating to each category,

along with the number of hours for each individual and the total compensation sought for each

category.

A.      Bankruptcy Litigation

                 13.         During the Interim Period, the Firm, among other things, reviewed

memoranda regarding investigative interviews, discussed issues in connection with removal of

actions, and addressed issues in connection with de minimus asset transfers and discovery related

thereto.

                             Fees: $3,505.50             Hours: 2.90

B.      Case Administration

                 14.         During the Interim Period, the Firm, among other things, reviewed

correspondence and pleadings and forwarded them to appropriate parties, maintained calendar of

critical dates and deadlines, and reviewed and followed up on various open case issues.

                             Fees: $9,154.50             Hours: 9.90



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C.      Compensation of Professionals

                 15.         During the Interim Period, the Firm, among other things, prepared its sixth

monthly fee application and first quarterly fee application.

                             Fees: $4,897.50                Hours: 7.50

D.      Compensation of Professionals / Other

                 16.         During the Interim Period, the Firm, among other things, assisted with the

preparation and filing of FTI’s monthly fee applications, and reviewed monthly fee applications

filed by the Debtor’s professionals.

                             Fees: $4,407.50                       Hours: 4.50

E.      Executory Contracts

                 17.         During the Interim period, the Firm, among other things, reviewed and

analyzed a claim assignments and transfers and lease rejection notices.

                             Fees: $488.00                  Hours: .40

F.      Financial Filings

                 18.         During the Interim period, the Firm, among other things, reviewed the

Debtor’s monthly operating report.

                             Fees: $378.50                  Hours: .30

G.      Financing

                 19.         During the Interim Period, the Firm, among other things, conferred with

estate professionals regarding a cash bridge.

                             Fees: $219.00                  Hours: .20



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H.      General Creditors’ Committee

                 20.         During the Interim Period, the Firm, among other things, prepared a case

status update for the Committee.

                             Fees: $2,001.50               Hours: 1.70

I.      Operations

                 21.         During the Interim Period, the Firm, among other things, reviewed

correspondence regarding insurance renewals and analyzed same.

                             Fees: $3,394.50               Hours: 3.10

J.      Plan and Disclosure Statement

                 22.         During the Interim Period, the Firm, among other things, reviewed the

Debtor’s revised combined disclosure statement and plan of liquidation, conferred with counsel

on timing issues in connection with confirmation, and reviewed the Debtors’ motion to extend plan

filing exclusivity.

                             Fees: $11,582.00              Hours: 9.60

                                            Valuation of Services

                 23.         Attorneys and paraprofessionals of PSZJ expended a total 40.10 hours in

connection with their representation of the Committee during the Interim Period, as follows:

                                                                         Hourly    Total
 Name of Professional Position of the Applicant, Year                                          Total
                                                                         Billing   Hours
     Individual       of Obtaining License to Practice                                      Compensation
                                                                          Rate     Billed
 Bradford J. Sandler             Partner 1996                        $1,595.00      2.00      $ 3,190.00
 Paul John Labov                 Partner, 2002                       $1,295.00     10.50      $13,597.50
 Colin R. Robinson               Counsel 2012                        $1,095.00     15.30      $16,753.50
 Ian Densmore                   Paralegal                             $545.00       5.70      $ 3,106.50


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                                                                         Hourly    Total
 Name of Professional Position of the Applicant, Year                                            Total
                                                                         Billing   Hours
     Individual       of Obtaining License to Practice                                        Compensation
                                                                          Rate     Billed
 Patricia J. Jeffries            Paralegal                               $545.00    4.80       $ 2,616.00
 Karen S. Neil                   Case Management Assistant               $425.00     1.80      $    765.00

                                    Grand Total:             40,028.50
                                    Total Hours:                 40.10
                                    Blended Rate:             $998.22


                 24.         The nature of work performed by these persons is fully set forth in

Exhibit A attached hereto. These are PSZJ’s normal hourly rates for work of this character. The

reasonable value of the services rendered by PSZJ for the Committee during the Interim Period is

$40,028.50.

                 25.         In accordance with the factors enumerated in section 330 of the Bankruptcy

Code, it is respectfully submitted that the amount requested by PSZJ is fair and reasonable given

(a) the complexity of this case, (b) the time expended, (c) the nature and extent of the services

rendered, (d) the value of such services, and (e) the costs of comparable services other than in a

case under the Bankruptcy Code. Moreover, PSZJ has reviewed the requirements of Del. Bankr.

LR 2016-2 and the Administrative Order and believes that this Application complies with such

Rule and Order.

                 WHEREFORE, PSZJ respectfully requests that, for the period of February 1, 2023

through February 28, 2023, (i) an interim allowance be made to PSZJ for compensation in the

amount $40,028.50 and actual and necessary expenses in the amount of $196.80 for a total

allowance of $40,225.30 and (ii) payment of $32,022.80 (80% of the allowed fees pursuant to the

Administrative Order) and reimbursement of $196.80 (100% of the allowed expenses pursuant to



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the Compensation Procedures Order) for a total payment of $32,219.60, and for such other and

further relief as this Court may deem just and proper.

Dated: March 29, 2023                        PACHULSKI STANG ZIEHL & JONES LLP

                                             /s/ Colin R. Robinson
                                             Robert J. Feinstein (admitted pro hac vice)
                                             Bradford J. Sandler (DE Bar No. 4142)
                                             Colin R. Robinson (DE Bar No. 5524)
                                             919 N. Market Street, 17th Floor
                                             Wilmington, DE 19801
                                             Telephone: (302) 652-4100
                                             Facsimile: (302) 652-4400
                                             Email: rfeinstein@pszjlaw.com
                                                     bsandler@pszjlaw.com
                                                     crobinson@pszjlaw.com


                                             Counsel to the Official Committee of Unsecured
                                             Creditors




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                                              DECLARATION

STATE OF DELAWARE    :
                     :
COUNTY OF NEW CASTLE :


                 Bradford J. Sandler, after being duly sworn according to law, deposes and says:

                 a)          I am a partner with the applicant law firm Pachulski Stang Ziehl & Jones

LLP, and am admitted to appear before this Court.

                 b)          I am familiar with the legal services rendered by PSZJ as counsel to the

Committee.

                 c)          I have reviewed the foregoing Application and the facts set forth therein are

true and correct to the best of my knowledge, information and belief. Moreover, I have reviewed

Del. Bankr. LR 2016-2, the Administrative Order signed on or about August 3, 2022 and submit

that the Application substantially complies with such rule and orders.

                                                           /s/ Bradford J. Sandler
                                                           Bradford J. Sandler




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                                          EXHIBIT A
                             February 1, 2023 – February 28, 2023 Invoice




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                               Pachulski Stang Ziehl & Jones LLP
                                       919 North Market Street
                                            17th Floor
                                       Wilmington, DE 19801
                                                                     March 28, 2023
CRR                                                                  Invoice 132072
                                                                     Client   02312
                                                                     Matter   00002
                                                                              CRR

RE: Committee Representation

 _______________________________________________________________________________________

         STATEMENT OF PROFESSIONAL SERVICES RENDERED THROUGH 02/28/2023
               FEES                                                   $40,028.50
               EXPENSES                                                 $196.80
               TOTAL CURRENT CHARGES                                  $40,225.30

               BALANCE FORWARD                                       $213,266.44
               TOTAL BALANCE DUE                                     $253,491.74
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  Summary of Services by Professional
  ID        Name                            Title                        Rate       Hours              Amount

 BJS        Sandler, Bradford J.            Partner                 1595.00          2.00            $3,190.00

 CRR        Robinson, Colin R.              Counsel                 1095.00         15.30           $16,753.50

 IDD        Densmore, Ian                   Paralegal                545.00          5.70            $3,106.50

 KSN        Neil, Karen S.                  Case Man. Asst.          425.00          1.80             $765.00

 PJJ        Jeffries, Patricia J.           Paralegal                545.00          4.80            $2,616.00

 PJL        Labov, Paul John                Partner                 1295.00         10.50           $13,597.50

                                                                                   40.10            $40,028.50
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Pachulski Stang Ziehl & Jones LLP                                                         Page:     3
Agway Farms O.C.C.                                                                        Invoice 132072
02312 - 00002                                                                             March 28, 2023


  Summary of Services by Task Code
  Task Code         Description                                                  Hours                       Amount

 BL                 Bankruptcy Litigation [L430]                                   2.90                     $3,505.50

 CA                 Case Administration [B110]                                     9.90                     $9,154.50

 CP                 Compensation Prof. [B160]                                      7.50                     $4,897.50

 CPO                Comp. of Prof./Others                                          4.50                     $4,407.50

 EC                 Executory Contracts [B185]                                     0.40                      $488.00

 FF                 Financial Filings [B110]                                       0.30                      $378.50

 FN                 Financing [B230]                                               0.20                      $219.00

 GC                 General Creditors Comm. [B150]                                 1.70                     $2,001.50

 OP                 Operations [B210]                                              3.10                     $3,394.50

 PD                 Plan & Disclosure Stmt. [B320]                                 9.60                    $11,582.00

                                                                                  40.10                    $40,028.50
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Pachulski Stang Ziehl & Jones LLP                                          Page:     4
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02312 - 00002                                                              March 28, 2023


  Summary of Expenses
  Description                                                                           Amount
Pacer - Court Research                                                                  $44.80
Postage [E108]                                                                              $8.70
Reproduction Expense [E101]                                                             $27.90
Reproduction/ Scan Copy                                                                $115.40

                                                                                       $196.80
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Pachulski Stang Ziehl & Jones LLP                                                                Page:     5
Agway Farms O.C.C.                                                                               Invoice 132072
02312 - 00002                                                                                    March 28, 2023


                                                                                        Hours            Rate     Amount

  Bankruptcy Litigation [L430]
 02/01/2023   CRR     BL        Review Debtor response re removal of actions and          0.50      1095.00        $547.50
                                confer w/ BSandler.

 02/02/2023   CRR     BL        Attention re laptop transfer, discovery related to        0.50      1095.00        $547.50
                                same and confer w/ FTI.

 02/06/2023   BJS     BL        Various emails with FTI regarding Gorssman                0.30      1595.00        $478.50
                                interview

 02/06/2023   CRR     BL        Review FTI notes re interview of former CFO and           0.70      1095.00        $766.50
                                litigation analysis.

 02/06/2023   PJL     BL        Review Matt Grossman notes on meeting, including          0.90      1295.00       $1,165.50
                                internal discussion regarding same.

                                                                                          2.90                    $3,505.50

  Case Administration [B110]
 02/02/2023   KSN     CA        Maintain document control.                                0.10       425.00         $42.50

 02/03/2023   KSN     CA        Maintain document control.                                0.10       425.00         $42.50

 02/03/2023   PJL     CA        Review next steps with winding down case and              0.40      1295.00        $518.00
                                discuss same with internal team.

 02/06/2023   KSN     CA        Maintain document control.                                0.20       425.00         $85.00

 02/07/2023   KSN     CA        Maintain document control.                                0.10       425.00         $42.50

 02/07/2023   IDD     CA        Review docket to update Critical Dates                    0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/08/2023   IDD     CA        Review docket to update Critical Dates                    0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/09/2023   IDD     CA        Review docket to update Critical Dates                    0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/10/2023   KSN     CA        Maintain document control.                                0.10       425.00         $42.50

 02/10/2023   PJL     CA        Conference with B. Sandler regarding plan                 0.40      1295.00        $518.00
                                administrator.

 02/10/2023   IDD     CA        Review docket to update Critical Dates                    0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)
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                                                                                       Hours            Rate     Amount

 02/13/2023   KSN     CA        Maintain document control.                               0.10       425.00         $42.50

 02/13/2023   IDD     CA        Review docket to update Critical Dates                   0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/14/2023   PJL     CA        Review insurance policy renewals and discuss same        1.20      1295.00       $1,554.00
                                internally with FTI and PSZJ team.

 02/15/2023   KSN     CA        Maintain document control.                               0.30       425.00        $127.50

 02/15/2023   PJL     CA        Review insurance policies and discuss same with          1.60      1295.00       $2,072.00
                                internal team and FTI.

 02/15/2023   IDD     CA        Review docket to update Critical Dates                   0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/16/2023   KSN     CA        Maintain document control.                               0.20       425.00         $85.00

 02/16/2023   PJL     CA        Review open issues.                                      0.40      1295.00        $518.00

 02/16/2023   IDD     CA        Review docket to update Critical Dates                   0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/17/2023   IDD     CA        Review docket to update Critical Dates                   0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/17/2023   PJL     CA        Review insurance issues and correspond with              0.90      1295.00       $1,165.50
                                internal team and FTI.

 02/20/2023   PJL     CA        Conference with B. Sandler regarding open issues.        0.40      1295.00        $518.00

 02/21/2023   IDD     CA        Review docket to update Critical Dates                   0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/21/2023   KSN     CA        Maintain document control.                               0.20       425.00         $85.00

 02/22/2023   IDD     CA        Review docket to update Critical Dates                   0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/22/2023   KSN     CA        Maintain document control.                               0.20       425.00         $85.00

 02/23/2023   IDD     CA        Review docket to update Critical Dates                   0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/24/2023   IDD     CA        Review docket to update Critical Dates                   0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
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                                                                                          Hours            Rate     Amount
                                deadlines (.1)
 02/27/2023   IDD     CA        Review docket to update Critical Dates                      0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/28/2023   IDD     CA        Review docket to update Critical Dates                      0.20       545.00        $109.00
                                Memorandum (.1); advise attorneys of upcoming
                                deadlines (.1)

 02/28/2023   KSN     CA        Maintain document control.                                  0.20       425.00         $85.00

                                                                                            9.90                    $9,154.50

  Compensation Prof. [B160]
 02/01/2023   PJJ     CP        Work on December fee statement.                             0.40       545.00        $218.00

 02/01/2023   PJJ     CP        Draft notice of December fee statement.                     0.20       545.00        $109.00

 02/01/2023   CRR     CP        Review Dec. fee application and email to PJefferies.        0.30      1095.00        $328.50

 02/06/2023   BJS     CP        Review and Revise PSZJ fee application                      0.20      1595.00        $319.00

 02/06/2023   IDD     CP        Finalize PSZJ 5th Monthly Fee Application (.3); file        0.60       545.00        $327.00
                                same with the Court (.2); serve same on required
                                parties (.1)

 02/09/2023   CRR     CP        Attention re interim fee applications.                      0.60      1095.00        $657.00

 02/13/2023   PJJ     CP        Draft interim fee application.                              0.40       545.00        $218.00

 02/14/2023   PJJ     CP        Draft 1st quarterly fee application.                        2.50       545.00       $1,362.50

 02/22/2023   IDD     CP        Finalize PSZJ 1st Quarterly Fee Application (.3);           0.90       545.00        $490.50
                                draft Notice for same (.2); file same with the Court
                                (.3); serve same on required parties (.1)

 02/22/2023   BJS     CP        Review agway fee application                                0.10      1595.00        $159.50

 02/23/2023   PJJ     CP        Draft January fee statement.                                0.30       545.00        $163.50

 02/24/2023   PJJ     CP        Work on January fee statement & notice.                     1.00       545.00        $545.00

                                                                                            7.50                    $4,897.50

  Comp. of Prof./Others
 02/06/2023   BJS     CPO       Review FTI fee application                                  0.10      1595.00        $159.50

 02/06/2023   BJS     CPO       Review SBF fee application                                  0.10      1595.00        $159.50

 02/06/2023   CRR     CPO       Review FTI fee application                                  0.30      1095.00        $328.50
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                                                                                          Hours            Rate     Amount

 02/06/2023   IDD     CPO       Finalize FTI 4th Monthly Fee Application (.2); draft        0.80       545.00        $436.00
                                Notice for same (.2); file FTI 4th Monthly Fee
                                Application with the Court (.3); serve same on
                                required parties (.1)

 02/08/2023   BJS     CPO       Review MJ fee application                                   0.10      1595.00        $159.50

 02/09/2023   CRR     CPO       Confer w/ Debtor's counsel re interim fee hearing.          0.20      1095.00        $219.00

 02/14/2023   BJS     CPO       Review focus fee application                                0.10      1595.00        $159.50

 02/14/2023   CRR     CPO       Review Debtor's professionals interim fee                   0.80      1095.00        $876.00
                                applications.

 02/17/2023   CRR     CPO       Review FTI interim fee application.                         0.30      1095.00        $328.50

 02/21/2023   CRR     CPO       Review re quarterly fee applications and email to           0.50      1095.00        $547.50
                                IDensmore.

 02/22/2023   IDD     CPO       Finalize FTI 1st Interim Fee Application (.3); file         0.60       545.00        $327.00
                                same with the Court (.2); serve same on required
                                parties (.1)

 02/22/2023   BJS     CPO       Review focus Mgmt fee application                           0.10      1595.00        $159.50

 02/22/2023   CRR     CPO       Address comments to FTI interim fee application             0.50      1095.00        $547.50
                                and confer w/ IDensmore, MAddicks.

                                                                                            4.50                    $4,407.50

  Executory Contracts [B185]
 02/09/2023   CRR     EC        Review claim assignments, transfers.                        0.30      1095.00        $328.50

 02/16/2023   BJS     EC        Review lease rejection notice                               0.10      1595.00        $159.50

                                                                                            0.40                     $488.00

  Financial Filings [B110]
 02/03/2023   CRR     FF        Review Debtor's monthly operating report.                   0.20      1095.00        $219.00

 02/21/2023   BJS     FF        Review MOR                                                  0.10      1595.00        $159.50

                                                                                            0.30                     $378.50

  Financing [B230]
 02/24/2023   CRR     FN        Confer w/ NGanti re cash bridge.                            0.20      1095.00        $219.00

                                                                                            0.20                     $219.00
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                                                                                        Hours            Rate     Amount

  General Creditors Comm. [B150]
 02/28/2023   CRR     GC        Prepare update to Committee re case status.               1.00      1095.00       $1,095.00

 02/28/2023   PJL     GC        Review correspondence to committee and comment            0.70      1295.00        $906.50
                                on same.

                                                                                          1.70                    $2,001.50

  Operations [B210]
 02/14/2023   CRR     OP        Review Debtor update re insurance renewals and            0.80      1095.00        $876.00
                                confer internally;

 02/15/2023   CRR     OP        Review policy information from schedules and              1.80      1095.00       $1,971.00
                                communications with Debtor's counsel re insurance
                                policy extensions.

 02/16/2023   CRR     OP        Confer w/ NGati re insurance issues and review            0.50      1095.00        $547.50
                                update.

                                                                                          3.10                    $3,394.50

  Plan & Disclosure Stmt. [B320]
 02/02/2023   PJL     PD        Internal discussion regarding plan and disclosure         0.70      1295.00        $906.50
                                statement.

 02/03/2023   CRR     PD        Revise Plan and send formatting comments to R.            2.40      1095.00       $2,628.00
                                Mori.

 02/04/2023   CRR     PD        Review R. Mori edits to Plan format.                      0.30      1095.00        $328.50

 02/06/2023   CRR     PD        Review Plan, provide to Debtor's counsel for              1.80      1095.00       $1,971.00
                                comments.

 02/06/2023   PJL     PD        Review updated plan and comment to same.                  1.30      1295.00       $1,683.50

 02/13/2023   PJL     PD        Discuss open issues and timing on plan and                0.40      1295.00        $518.00
                                disclosure statement with B. Sandler.

 02/21/2023   BJS     PD        Attention to revised draft plan                           0.30      1595.00        $478.50

 02/21/2023   CRR     PD        Confer proposed plan administrator re case status.        0.20      1095.00        $219.00

 02/22/2023   BJS     PD        Teleconference with S Balasiano regarding plan            0.30      1595.00        $478.50

 02/23/2023   PJL     PD        Internal discussion regarding status of plan and          0.60      1295.00        $777.00
                                disclosure statement.

 02/27/2023   PJL     PD        Internal discussion on timing for PD, Debtors’            0.60      1295.00        $777.00
                                counsel timing.
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                                                                                   Hours            Rate       Amount

 02/28/2023   BJS     PD        Review Motion to Extend Exclusivity                  0.10      1595.00         $159.50

 02/28/2023   CRR     PD        Confer w/ Debtor's counsel on Plan status,           0.30      1095.00         $328.50
                                exclusivity.

 02/28/2023   CRR     PD        Review motion re extend exclusivity.                 0.30      1095.00         $328.50

                                                                                     9.60                    $11,582.00

  TOTAL SERVICES FOR THIS MATTER:                                                                          $40,028.50
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 Expenses
 02/03/2023   RE2        SCAN/COPY ( 15 @0.10 PER PG)                                1.50
 02/03/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/06/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/06/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/06/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 02/06/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/06/2023   RE2        SCAN/COPY ( 51 @0.10 PER PG)                                5.10
 02/06/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 02/08/2023   RE2        SCAN/COPY ( 44 @0.10 PER PG)                                4.40
 02/08/2023   RE2        SCAN/COPY ( 68 @0.10 PER PG)                                6.80
 02/09/2023   RE2        SCAN/COPY ( 17 @0.10 PER PG)                                1.70
 02/10/2023   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                 0.40
 02/10/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 02/10/2023   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                 0.60
 02/10/2023   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                 0.40
 02/10/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/10/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 02/10/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/10/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/10/2023   RE2        SCAN/COPY ( 1 @0.10 PER PG)                                 0.10
 02/10/2023   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                 0.50
 02/10/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/13/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 02/13/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/21/2023   RE2        SCAN/COPY ( 3 @0.10 PER PG)                                 0.30
 02/21/2023   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                 0.50
 02/21/2023   RE2        SCAN/COPY ( 5 @0.10 PER PG)                                 0.50
 02/21/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/21/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/21/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/21/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
 02/21/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                 0.20
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 02/21/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
 02/21/2023   RE2        SCAN/COPY ( 4 @0.10 PER PG)                                      0.40
 02/21/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
 02/21/2023   RE2        SCAN/COPY ( 6 @0.10 PER PG)                                      0.60
 02/21/2023   RE2        SCAN/COPY ( 2 @0.10 PER PG)                                      0.20
 02/22/2023   PO         Postage DE                                                       8.70
 02/22/2023   RE         ( 1 @0.10 PER PG)                                                0.10
 02/22/2023   RE         ( 278 @0.10 PER PG)                                             27.80
 02/22/2023   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                     1.80
 02/22/2023   RE2        SCAN/COPY ( 648 @0.10 PER PG)                                   64.80
 02/22/2023   RE2        SCAN/COPY ( 183 @0.10 PER PG)                                   18.30
 02/27/2023   RE2        SCAN/COPY ( 18 @0.10 PER PG)                                     1.80
 02/28/2023   PAC        Pacer - Court Research                                          44.80

   Total Expenses for this Matter                                                    $196.80
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                                                REMITTANCE ADVICE

                                    Please include this Remittance with your payment

For current services rendered through:        02/28/2023

Total Fees                                                                                            $40,028.50

Total Expenses                                                                                             196.80

Total Due on Current Invoice                                                                          $40,225.30

  Outstanding Balance from prior invoices as of        03/28/2023          (May not include recent payments)

A/R Bill Number           Invoice Date               Fees Billed        Expenses Billed             Balance Due
 130900                   08/31/2022               $263,934.50             $391.68                    $52,786.90

 131012                   09/30/2022               $135,367.50                $84.20                  $27,073.50

 131217                   10/31/2022               $111,238.50             $472.50                    $22,247.70

 131438                   11/30/2022               $113,515.00                $93.32                  $22,703.00

 131660                   12/31/2022                $78,515.00                $96.70                  $15,703.00

 132071                   03/28/2023                $72,681.00                $71.34                  $72,752.34

             Total Amount Due on Current and Prior Invoices:                                         $253,491.74
